Case 9:22-mj-08332-BER Document 57 Entered on FLSD Docket 08/15/2022 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-MJ-8332-BER


   IN RE SEALED SEARCH WARRANT                               FILED UNDER SEAL

   _____________ /
              SECOND NOTICE OF FILING OF REDACTED DOCUMENTS

          The United States hereby gives notice that it is filing the following document, which

   is a redacted version of material previously filed in this case number under seal:

      •   The criminal cover sheet associated with the August 5, 2022 warrant application

          (Docket Entry 1, page 1);

      •   The cover sheet to the August 5, 2022 warrant application (Docket Entry 1, page 4);

      •   The government's motion to seal the search warrant (Docket Entry 2); and

      •   The Court's order sealing the warrant and related materials (Docket Entry 3).



                                                      JUAN ANTONIO GONZALEZ


                                                      By:_~~---=-~- -=------
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                                                      Florid                 8
                                                      99 NE 4th Street, 8th Floor
                                                      Miami, Fl 33132
                                                      Tel: 305-961-9001
                                                      Email: juan.antonio .gonzalez@usdoj .gov
Case 9:22-mj-08332-BER Document 57 Entered on FLSD Docket 08/15/2022 Page 2 of 5




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-mj-8332-BER


      IN RE SEALED SEARCH WARRANT
      - - - - - - - - - - - - - - - -I
                                     CRIMINAL COVERSHEET

      1. Did this matter originate from a matter pending in the Northern Region of the United States
         Attorney's Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? No

      2. Did this matter originate from. a matter pending in the Central Region of the United States
         Attorney's Office prior to October 3, 2019 (Mag. Judge Jared Sh·auss)? No


                                                       Respectfully submitted,

                                                       JUAN ANTONIO GONZALEZ
                                                       UNITED STATES ATTORNEY



                                                BY:




                                                       99 N01theast 4th Street
                                                       Miami, Florida 33132-2111
                                                       Telephone:
                                                       E-mail:
Case 9:22-mj-08332-BER Document 57 Entered on FLSD Docket 08/15/2022 Page 3 of 5


AO 106A (08/18) Application for a Warrant by Tdtphooe or Other Reliable Electronic Means



                                      UNITED STATES DISTRICT COURT
                                                              r;:;..;;;:;.;:;.;:;.:.._ _ _ _ _ _ _ __

                                                                  FILED BY.____t..;.a.M____ o.c.
                                                  for the
                                                           Southern Distlict of Florida
                                                                                                                Aug 5, 2022
              In the Matter of the Search of                                                                   ANGEl-4' E . NOBlE
                                                                            )                                 CLERK U.S. 01ST. CT.
          (B1iejly describe the pmperty to be searched                                                        S . 0 . OF FLA . · W~,tPalmlluch
                                                                            )
           or identify the perso11 by name a11d address)                    )              Case No. 22-mj-8332-BER
  the Premises Located at 1100 S. Ocean Blvd., Palm                         )
 Beach, FL 33480, as further described in Attachment A                      )
                                                                            )

    APPLICATION FOR AWARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEA.t~S
        I, a federal law enforcement officer or an attorney for the government request a search wanant and state under
penalty of perjury that I have reason to believe that on the following person or property (ide11tify the person or describe the
property to be searched a11d give its locatio11):
  See Attachment A

located in the _ __S_o_u_th_e_m___ District of _ _ ___F
                                                      _l_o_ri_da_____ . there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B

          Tue basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
               ~ evidence of a crime;
               ~ contraband. frnits of c1ime, or other items illegally possessed;
               D property designed for use, intended for use, or used in collllllitting a crime;
               D a person to be rurested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                             Offense Description
        18 U.S.C. § 793                             Willful retention of national defense information
        18 U.S.C. § 2071                            Concealment or removal of government records
        18 U.S.C. § 1519                            Obstruction of federal investigation
         Tue application is based on these facts:
        See attached Affidavit of FBI Special Agent

           ilf Continued on the attached sheet.
           D Delayed notice of _ _ days (give exact ending date ifmore rha11 30 days:
             18 U.S.C. § 3103a, the basis of which is set fo11h on tJ1e atta




                                                                                                               ame and title

Attested to by the applicant in accordance with the requirements of Fed. R. C · .
                  Phone (WhatsApp)                     (specify reliable electr ,~


Date:            08/05/2022
                                                                                                       Ju 'ge 's s g,ra ·11re

City and state: West Palm Beach, Florida                                             Hon. Bruce E. Reinhart, U.S. Magistrate Judge
                                                                                                     Plinted 11a111e a11d title
Case 9:22-mj-08332-BER Document 57 Entered on FLSD Docket 08/15/2022 Page 4 of 5




                                                                                   FILED BY___
                                                                                             TM_ _ o.c .
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                                                                              Aug 5, 2022
                                         CASE NO. 22-mj-8332-BER                             ANGELA E . NOBLE
                                                                                            CLERK U.S . DIST. CT.
                                                                                            S . 0 . OF FLA. · Wtn Palm Buch

     IN RE: SEARCH WARRANT                                       IDGHLY SENSITIVE DOCUMENT
     - - - - - - - - - -- - - - -I

                                            MOTION TO SEAL

             The United States of America, by and through the 1mdersigned Assistant United States

     Attorney, hereby moves to seal this Motion, the Seai·ch Wanant and all its accompanying

     documents 1mtil fiu1her order of this Comt. The United States submits that there is good cause

     because the integrity of the ongoing investigation might be compromised, and evidence might be

     destroyed.

            The United States fi.uther requests that, pmsuant to this Comt's procedures for Highly

     Sensitive documents, all docmnents associated with this investigation not be filed on the Comt' s

     electronic docket because filing these materials on the electronic docket poses a 1isk to safety given

     the sensitive nature of the mate1ial contained therein.




                                                   Respectfully submitted,

                                                   JUAN ANTONIO GONZALEZ
                                                   UNITED STATES ATTORNEY

                                           BY:




                                                   Miami, Florida 33132-2111
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                                UNITED STATES DISTRICT COURT                  FILED BY.___T_M__ o.c.
                                SOUTHERN DISTRICT OF FLORIDA
                                                                                        Aug 5, 2022
                                     CASE NO. 22-mi-8332-BER
                                                                                       ANGELA E. NOBlE
                                                                                      CLERK U .S. DIST. CT.
                                                                                      S . 0 . OF Fl.A. - Wost Palm B,.rb



     IN RE: SEARCH WARRANT                                    IDGHLY SENSITIVE DOCUMENT
     ______________        __;/


                                           SEALING ORDER

            The United States of America, having applied to this Com1 for an Order sealing the Motion

     to Seal, the Search Wanant and all its accompanying documents, and this order and the Comt

     finding: good cause:

            IT IS HEREBY ORDERED that the Motion to Seal, the Search Wanant and its

     accompanying documents, and this Order shall be filed 1mder seal until further order of this Comt.

     However, the United States Attorney's Office and the Federal Bureau of Investigation may obtain

     copies of any sealed document for pmposes of executing the search wanant.
                                                                                                ~
            DONE AND ORDERED in chambers at West Palm Beach, Florida, this _£__day of

     August 2022.




                                                  £~
                                                 HON. BRUCE E. REINHART
                                                 UNITED STATES :M AGISTRATE ruDGE
